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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.                    2:20-cv-07126-RSWL (RAOx)                            Date       September 21, 2020
 Title                      Jong Ja Kim v. Golden Goose Family, Inc., et al.




 Present: The Honorable          RONALD S.W. LEW, Senior U.S. District Judge
                        Daisy Rojas                                                   None
                        Deputy Clerk                                     Court Reporter / Recorder
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                          Not Present                                           Not Present
 Proceedings:                 (IN CHAMBERS) ORDER TO SHOW CAUSE RE EXERCISE OF
                              SUPPLEMENTAL JURISDICTION RE STATE LAW CLAIMS


The Court ORDERS Plaintiff to SHOW CAUSE in writing why the Court should exercise supplemental
jurisdiction over the Unruh Act claim asserted in the Complaint.


Plaintiff shall file a Response to this Order to Show Cause by no later than September 25, 2020.

Failure to timely or adequately respond to this Order to Show Cause may, without further warning, result
in the dismissal of the entire action without prejudice or the Court declining to exercise supplemental
jurisdiction over the state law claims and the dismissal of those claims pursuant to 28 U.S.C. 1367(c).




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                                                               Initials of Preparer    dr




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